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                                 STATEMENT OF FACTS

1.                                , is a Special Agent assigned to the FBI Albany Joint Terrorism
     Task Force. In my duties as a special agent, I have worked on investigations involving
     counterterrorism and national security matters. In addition, I have worked temporary
     deployments related to crimes committed on Native American Reservations, as well as
     investigations related to violent street gangs, violent crimes, and drug trafficking. In these
     assignments, I have worked and continue to work with federal, state, and local law
     enforcement agents and officers on a number of criminal investigations.

2. I attended the FBI Academy in Quantico, Virginia from July to November of 2019, where
   I completed FBI Special Agent training, which, in part, included training in applying for
   and executing search warrants, conducting criminal investigations, and the obtaining and
   handling of evidence.

3. I am an investigative or law enforcement officer of the United States within the meaning
   of Title 18, United States Code, Section 2510(7), that is, an officer of the United States
   who is empowered by law to conduct investigations of, and to make arrests for, offenses
   enumerated in Title 18 of the United States Code. As a federal agent, I am authorized to
   investigate violations of the laws of the United States and to execute search warrants issued
   under the authority of the United States. Currently, I am tasked with investigating criminal
   activity in and around the Capitol grounds on January 6, 2021.

4. The facts in this affidavit come from my training and experience, and information obtained
   from other federal agents, law enforcement officers, and witnesses. This affidavit is
   intended to show that there is probable cause for the requested warrant and does not set
   forth all of my knowledge on this matter.

5. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
   U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
   Capitol Police. Only authorized people with appropriate identification were allowed access
   inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
   closed to members of the public.

6. On January 6, 2021, a joint session of the United States Congress convened at the United
   States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
   session, elected members of the United States House of Representatives and the United
   States Senate were meeting in separate chambers of the United States Capitol to certify
   the vote count of the Electoral College of the 2020 Presidential Election, which had taken
   place on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly
   thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
   chambers to resolve a particular objection. Vice President Mike Pence was present and
   presiding, first in the joint session, and then in the Senate chamber.
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7. As the proceedings continued in both the House and the Senate, and with Vice President
   Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
   Capitol. As noted above, temporary and permanent barricades were in place around the
   exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting
   to keep the crowd away from the Capitol building and the proceedings underway inside.

8. At such time, the certification proceedings were still underway and the exterior doors and
   windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
   Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
   however, around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
   including by breaking windows and by assaulting members of the U.S. Capitol Police, as
   others in the crowd encouraged and assisted those acts.

9. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
   Representatives and United States Senate, including the President of the Senate, Vice
   President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly,
   the joint session of the United States Congress was effectively suspended until shortly after
   8:00 p.m. Vice President Pence remained in the United States Capitol from the time he was
   evacuated from the Senate Chamber until the sessions resumed.

10. During national news coverage of the aforementioned events, video footage which
    appeared to be captured on mobile devices of persons present on the scene depicted
    evidence of violations of local and federal law, including scores of individuals inside the
    U.S. Capitol building without authority to be there.

                IDENTIFICATION OF LANCE DOUGLAS WHITE

11. On January 25, 2022, Agents with the FBI Tampa Office interviewed an individual known
    to Lance Douglas WHITE (White), DOB; XX/XX/1970. Agents requested the individual
    put them in contact with White. That same day, an individual who identified himself as
    White called the agents from telephone number XXX-XXX-3084 (“3084”) and provided
    his current address in Voorheesville, New York.

12. According to records obtained through a search warrant which was served on AT&T, on
    January 6, 2021, in and around the time of the incident, the cellphone associated with 3084
    was identified as having utilized a cell site consistent with providing service to a
    geographic area that includes the interior of the restricted perimeter for the United States
    Capitol building.

13. On April 11, 2022, White was interviewed by FBI agents, including Your affiant. Among
    other statements, White stated the following: White was present at the Capitol on January
    6, 2021 with a family member. White indicated that they did not attend Donald Trump’s
    rally and spent most of the morning behind the Capitol Building. White heard other people
    talking about a crowd in front of the building and walked around to see a massive crowd
    approaching the Capitol Building. White stated he was caught up in the momentum of the
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   crowd and entered the Capitol Building through a broken window. White stated he
   encountered police officers inside the building, and briefly spoke to them.

14. During the interview, White was shown the following picture of a crowd at the Capitol
    with two individuals circled. (Image 1). White identified himself as the male wearing a
    bright blue jacket, black hat, and backpack (right). White stated he did not know the name
    of the male with the microphone (left), but that this individual was behaving like a
    "motivational speaker."




                                          Image 1


15. On May 5, 2022, an individual personally familiar with White was interviewed and
    identified White as the male in the blue jacket, wearing both the black, and red hat, from
    the below photographs. (Image 2).




                                     Image 2, Yellow Circles Added
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16. On August 23, 2023, White was re-interviewed by FBI agents, including your affiant.
    White indicated he was not aware of or interested in political events, including the
    electoral certification, on January 6, 2021. White indicated that on January 6, 2021, he
    did not see barricades as he approached the Capitol Building however he did feel like he
    was trespassing once he came within one hundred yards of the building. White stated that
    he believed police were allowing individuals to enter the building.

17. White confirmed that he took photographs inside the Capitol Building using his phone on
    January 6, 2021. White indicated that he downloaded the photos to a compact disk,
    deleted the photos from his phone, and placed the disk under a rug in his backyard. White
    met with your affiant and provided the disk containing eighty-eight photos from inside
    and around the Capitol Building. White stated that he no longer had the clothes that he
    wore to the Capitol on January 6, 2021.

                   LANCE WHITE’S CONDUCT ON JANUARY 6, 2021

18. I have reviewed both open-source media and United States Capitol Police closed circuit
    video (“CCV”) video footage of the events that took place in the U.S. Capitol on January
    6, 2021. Based on that review, I have observed the following:


19. Prior to entering the Capitol Building, White was positioned immediately outside of the
    Capitol Building, standing in a crowd around an individual with a microphone. (Image 3).




                                        Image 3


20. At approximately 2:23pm, White entered the Capitol Building from the West Side through
    a broken window. (Image 4). White can be seen wearing a bright blue shirt, red hat, white
    ski goggles, and shorts with an American flag pattern, and carrying a green backpack.
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                                          Image 4




21. From approximately 2:23pm to 2:26pm, White assisted other rioters in entering through
    that same broken window by waving his arms to guide them in and holding objects, such
    as flags, for rioters while they climb through the window into the Capitol Building. (Image
    5).




                                          Image 5
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22. At approximately 2:26pm, law enforcement officers responded to the breach and attempted
    to seal off the area and prevent more rioters from entering the Capitol Building. White then
    exited the building at approximately 2:26pm. (Image 6).




                                          Image 6



23. White then re-entered the Capitol Building through the Upper West Terrace Door at
    approximately 2:37pm. (Image 7).




                                          Image 7
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24. At approximately 2:41pm, White was inside of the Rotunda using his cell phone. (Image
    8).




                                       Image 8



25. At approximately 2:43pm, White was inside Statuary Hall and appeared to take a photo of
    a statue. (Image 9)




                                       Image 9
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26. At approximately 2:43pm, White walked to the Statuary Hall Connector. (Image 10).




                                       Image 10



27. At approximately 2:46pm, White exited the Capitol Building via the East Front House
    Door. After exiting, White turned around and re-entered the building. (Image 11, 12)




                                         Image 11
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                                      Image 12


28. At approximately 2:48pm, White walked through Statuary Hall. (Image 13).




                                      Image 13


29. At approximately 2:49pm, White was again inside of the Rotunda. (Image 14)
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                                      Image 14



30. At approximately 2:51pm, White continued through the Supreme Court chamber stairs,
    passing a Capitol Police Officer. (Image 15).




                                      Image 15



31. At approximately 2:53pm, White exited the U.S. Capitol building via the Senate Wing
    Door on the North Side of the Capitol (Image 16).
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                                            Image 16


   32. Based on the foregoing, your affiant submits that there is probable cause to believe that
       White violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
       enter or remain in any restricted building or grounds without lawful authority to do; and
       (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
       business or official functions, engage in disorderly or disruptive conduct in, or within such
       proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
       impedes or disrupts the orderly conduct of Government business or official functions; or
       attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted
       building” includes a posted, cordoned off, or otherwise restricted area of a building or
       grounds where the President or other person protected by the Secret Service, including the
       Vice President, is or will be temporarily visiting; or any building or grounds so restricted
       in conjunction with an event designated as a special event of national significance.

   33. Your affiant submits there is also probable cause to believe that White violated 40 U.S.C.
       § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
       threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
       in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
       disturb the orderly conduct of a session of Congress or either House of Congress, or the
       orderly conduct in that building of a hearing before, or any deliberations of, a committee
       of Congress or either House of Congress and (G) parade, demonstrate, or picket in any of
       the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
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telephone, this __13___ day of September 2023                    2023.09.13
                                                                 17:11:01 -04'00'
                                                ___________________________________

                                                U.S. MAGISTRATE JUDGE
